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                                       IN THE
                            UNITED STATES DISTRICT COURT
                                      FOR THE
                            WESTERN DISTRICT OF VIRGINIA



  ELIZABETH SINES, ET AL                             NOTICE
                                                     CASE NO.: 3:17CV00072
        v.

  JASON KESSLER, ET AL

  ______________________________________________________________________________

  TYPE OF CASE:
                    X     CIVIL                   CRIMINAL
  ______________________________________________________________________________

  TYPE OF PROCEEDING: Discovery Conference Call

  ______________________________________________________________________________

  X     TAKE NOTICE that the proceeding in this case has been RE-SCHEDULED as indicated
        below:
  ______________________________________________________________________________

  LOCATION:

        DATE: May 29, 2018 (previously set for May 24, 2018)
        TIME: 1:00 P.M.
        DIAL IN NUMBER: 540-857-5155
        CONFERENCE ID: ________________

  ______________________________________________________________________________


                                                      JULIA C. DUDLEY, CLERK

  DATE: May 22, 2018                                  By: s/ Karen Dotson
                                                             Deputy Clerk
  To:   Hon. Moon
        Hon. Hoppe
        Counsel of Record
        Pro Se Defendants
        File
